                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION



GENESCO INC.,

               Plaintiff,
                                              Civil Action No. 3:13-cv-202
       v.                                     Chief Judge William J. Haynes, Jr.

VISA U.S.A. INC., VISA, INC., AND             JURY DEMAND
VISA INTERNATIONAL SERVICE
ASSOCIATION,

               Defendants.



    PLAINTIFF GENESCO INC.’S MOTION FOR LEAVE TO FILE UNDER SEAL
          CERTAIN DOCUMENTS IN SUPPORT OF ITS OPPOSITION

       Today, Plaintiff Genesco Inc. (“Genesco”) is filing a Brief in Opposition to Defendants’

Motion to Compel Plaintiff to Comply with the Court’s Prior Orders Concerning Discovery of

Remediation Measures and for Sanctions and an Expedited Hearing (the “Opposition”), together

with supporting documents. Genesco respectfully moves this Court for leave to file under seal

Exhibits 1-4 to the Affidavit of Seth Harrington, filed in support of the Opposition.

                                      REQUEST TO SEAL

       1.      Paragraph 1 of the Agreed Protective Order entered July 3, 2013 defines

Confidential Discovery Material as “documents or information that constitute trade secrets or

reveal confidential research, development, business, financial or commercial information; that is

subject to any protective order, sealing order, or ruling that prevents or limits a litigant from

disclosing such material; that implicates the contractual privacy, or other confidentiality rights of




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the Parties or third-parties; or that is otherwise protectable under Federal Rule of Civil Procedure

26(c) or any other applicable rule, statute or common law.”

       2.      Paragraph 2 of the Agreed Protective Order entered July 3, 2013 states that “Any

document containing a summary or recitation of the content of Confidential Discovery Material

also shall be deemed to be Confidential Discovery Material.”

       3.      Paragraph 9 of the Agreed Protective Order entered July 3, 2013 states that

“Confidential Discovery Material included in or attached to pleadings or other materials to be

filed with the Court shall be filed under seal.”

       4.      Exhibits 1 and 4 to the Affidavit of Seth Harrington are excerpts of deposition

transcripts which have been designated as confidential discovery materials by the parties

consistent with the Agreed Protective Order.

       5.      Exhibits 2 and 3 to the Affidavit of Seth Harrington are documents produced by

Genesco in this action, which have been designated as confidential discovery materials

consistent with the Agreed Protective Order.

       6.      These documents are not public and contain confidential business information of

Genesco, Inc. Genesco’s interest in maintaining the confidentiality of this confidential business

information is a specific, serious and substantial interest which clearly outweighs the general

presumption of openness. Sealing these exhibits will have no adverse effect on general public

health or safety. These documents are of no immediate interest to the general public. Moreover,

the request is narrowly tailored to cover only information for which good cause for filing under

seal exists, and no less restrictive means than sealing the exhibit will adequately and effectively

protect Genesco’s interests.




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                       CONCLUSION AND REQUEST FOR RELIEF

       For all the foregoing reasons, Genesco requests that the Court grant leave to file Exhibits

1-4 to the Affidavit of Seth Harrington under seal. Genesco reserves the right to withdraw these

documents if leave is not granted by the Court.



                                             Respectfully submitted,

                                     By:       /s/ Overton Thompson III
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served, via the Court’s electronic

filing system, on the following:

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This 19th day of May, 2014.
                                                              /s/ Overton Thompson III




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